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EXHIBIT 88
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             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

                                                                               Page 1
 1                     UNITED STATES DISTRICT COURT

 2                    SOUTHERN DISTRICT OF NEW YORK

 3

 4   MARVEL WORLDWIDE, INC.,

 5   MARVEL CHARACTERS, INC. and

 6   MVL RIGHTS, LLC,
 7                             PLAINTIFFS,

 8

 9              vs.                              NO. 10-141-CMKF

10
11   LISA R. KIRBY, BARBARA J. KIRBY,

12   NEALL. KIRBY and SUSANN. KIRBY,

13                             DEFENDANTS.

14
15

16            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

17                  VIDEOTAPED DEPOSITION OF STAN LEE

18                       LOS ANGELES, CALIFORNIA
19                               MAY 13, 2010

20

21

22   REPORTED BY:
23   CHRISTY A. CANNARIATO, CSR #7954, RPR, CRR, CLR

24   JOB NO.: 30189

25


                       TSG Reporting 877-702-9580


                                                                       2021 MARVEL-0130804
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 4

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 6

 7                                            May 13, 2010

 8                                            9:35 a.m.

 9

10

11

12

13            Deposition of Stan Lee, taken on behalf of

14      Plaintiffs, held at the offices of Paul Hastings,

15      515 South Flower Street, 25th Floor, Los Angeles,

16      California, before Christy A. Cannariato,

17      CSR #7954, RPR, CRR.

18

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                                                                      2021 MARVEL-0130805
      Case 1:21-cv-07957-LAK   Document 94-8   Filed 06/30/23   Page 4 of 12
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                                                                               Page 3
 1                        A P P E A R A N C E S

 2

 3   REPRESENTING THE PLAINTIFFS:

 4

 5   WEIL, GOTSHAL & MANGES, LLP

 6   BY:     JAMES W. QUINN, ESQ.
 7   RANDI W. SINGER, ESQ.

 8   767 FIFTH AVENUE

 9   NEW YORK, NY     10153

10
11   -AND-

12

13   HAYNES AND BOONE, LLP

14   BY:     DAVID FLEISCHER, ESQ.
15   1221 AVENUE OF THE AMERICAS, 26TH FLOOR

16   NEW YORK, NY     10020

17

18
19   REPRESENTING THE DEFENDANTS:

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21   TOBEROFF & ASSOCIATES, P.C.

22   BY:     MARC TOBEROFF, ESQ.
23   2049 CENTURY PARK EAST, SUITE 2720

24   LOS ANGELES, CA     90067

25


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                                                                       2021 MARVEL-0130806
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                                                                               Page 4
 1                           APPEARANCES (Cont'd)

 2

 3

 4   FOR THE WITNESS:

 5

 6   GANFER & SHORE, LLP
 7   BY:   ARTHUR LIEBERMAN, ESQ.

 8   360 LEXINGTON AVENUE, 14TH FLOOR

 9   NEW YORK, NY    10017

10   REPRESENTING
11

12

13

14
15

16

17

18   ALSO PRESENT:
19   BRENT JORDAN, VIDEOGRAPHER

20   ELI BARD, MARVEL ENTERTAINMENT

21

22

23

24

25


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                                                                       2021 MARVEL-0130807
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 1                                               I N D E X

 2

 3   EXAMINATION BY                                                                                   PAGE

 4

 5   MR. QUINN . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

 6

 7   ----------------------------------------------------------

 8                                                 EXHIBITS

 9   EXHIBIT DESCRIPTION                                                                              PAGE

10

11   Lee Exhibit 1

12   Affidavit of Stan Lee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

13

14   Lee Exhibit 2

15   Affidavit of Millicent Shuriff . . . . . . . . . . . . . . . . . . . . . . . . . 29

16

17   Lee Exhibit 3

18   Article by Nat Freedland, "Super Heroes With Super

19   Problems," NY Herald Tribune, 1/9/66 . . . . . . . . . . . . . . . . . . . 39

20

21   Lee Exhibit 4

22   Reprint "Super-Heroes with Super Problems" . . . . . . . . . . . . . 39

23

24   Lee Exhibit 5 - Retained by Counsel for Plaintiff

25   Jack Kirby Collector Fifty-Four . . . . . . . . . . . . . . . . . . . . . . . . 49


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 1                                                 EXHIBITS
 2   EXHIBIT DESCRIPTION                                                                               PAGE
 3

 4   Lee Exhibit 6
 5   Color Photocopy of "Fantastic Four" . . . . . . . . . . . . . . . . . . . . 53

 6

 7   Lee Exhibit 7 - Retained by Counsel for Plaintiff
 8   Book, Alter Ego . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 62

 9

10   Lee Exhibit 8
11   Deposition transcript of Stan Lee 11/18/03 ............ 102
12
13   Lee Exhibit 9
14   DVD titled Stan Lee Deposition Audio and Video Clips .. 103
15
16   Lee Exhibit 10
17   Collection of Audio CD labels from University of
18   Wyoming . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 103
19
20   Lee Exhibit 11 - Retained by Counsel for Plaintiff
21   Book, Stan Lee Conversations, Edited by
22   Jeff McLaughlin . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 121
23
24   Lee Exhibit 12 - Retained by Counsel for Plaintiff
25   Book, Origins of Marvel Comics, by Stan Lee ........... 120


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      Case 1:21-cv-07957-LAK    Document 94-8   Filed 06/30/23   Page 8 of 12
                CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

                                                                           Page 120
 1                                  S. LEE
 2

 3                    STAN LEE:     I never owned these
 4               characters.     I did them as a work for hire.            So

 5               the company owned the characters.

 6

 7         Q.       BY MR. QUINN:     And that's still consistent

 8   with what you believe today?

 9         A.       Yes.
10                  (Lee Exhibit 12 marked for identification.)
11         Q.       Now, I want to mark, and I think we may have
12   already marked it this one           I don't think we have a copy

13   of, but I'm only going to ask you a couple of questions --
14   as Exhibit 12.        It's a book entitled, "Origins of Marvel
15   Comics," by Stan Lee.
16                  And could you tell us what that book is?
17         A.       At some time in the past Simon & Schuster
18   wanted to do a book about Marvel, and they asked me to
19   write it.     And they wanted to know how I came up with the
20   ideas for the various characters, what the origins were of
21   the characters.       So I turned out this book, and they sold
22   it.
23                  It did very well, actually.          They asked for a

24   sequel.     I did "Son of Origins of Marvel."           Then I did one
25   about the villains called, "Bring on the Bad Guys."                  And


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                                                                        2021 MARVEL-0130923
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 1                       C E R T I F I C A T E

 2

 3      STATE OF CALIFORNIA

 4                                       ) ss. :
 5      COUNTY OF LOS ANGELES

 6

 7                  I, CHRISTY A. CANNARIATO, a Certified

 8            Shorthand Reporter within and for the State

 9            of California, do hereby certify:

10                  That Stan Lee, the witness

11            whose deposition is hereinbefore set forth,

12            was duly sworn by me and that such

13            deposition is a true record of the

14            testimony given by such witness.

15                  I further certify that I am not

16            related to any of the parties to this

17            action by blood or marriage; and that I am

18            in no way interested in the outcome of this

19            matter.

20                  IN WITNESS WHEREOF,       I have hereunto

21            set my hand this 25th day of May, 2010.

22

23

24

25                        CHRISTY A. CANNARIATO, CSR #7954


                      TSG Reporting 877-702-9580


                                                                      2021 MARVEL-0130950
       Case 1:21-cv-07957-LAK                        Document 94-8   Filed 06/30/23    Page 10 of 12



             Marvel Worldwide, Inc., Marvel Characters, Inc., and MVL Rights, LLC
                                                             v.
                Lisa R. Kirby, Barbara J. Kirby, Neal L. Kirby, and Susan N. Kirby

                                     Civi1 Action No. 10 Civ. 141 (CM) (KNF)

                                             Southern District ofNew York



              ERRATA SHEET FOR THE MAY 13, 2010 DEPOSITION OF STAN LEE




   PAGE/                                               CHANGE                            REASON FOR
  LINE NO.                                                                                CHANGE

14: 16               "grownup" should be "grown up"                                    Typographical error
21:7                 "fill in" should be "villain"                                     Typographical error
34:8                 "Then I would send it to the inker" should be "Then, after        Clarification
                     it was lettered by the letterer, I would send it to the inker."
35:19                "talk it with the artist" should be "talk about it with the       Typographical error
                     artist"
38:12                "news stand" should be "newsstand"                                Typographical error
40:17                "Kirby a veteran comic book artist," should be "Kirby, a          Typographical error
                     veteran comic book artist,"
42:20                "thus and such" should be "such and such"                         Typographical error
49:12                "Collection" should be "Collector"                                Typographical error
53:8                 "Os" should be "O's"                                              Typographical error
55:3                 "Dr. doom" should be "Dr. Doorn"                                  Typographical error
56:2                 "might have decide to" should be "might have decided to"          Typographical error
64:25                "the Fantastic Four" should be "The Fantastic Four"               Typographical error
65:20                "See later part of the article" should be "see latter part of     Clarification
                     article."
65:23                "synopses with Marvel artists, often working merely"              Typographical error
                     should be "synopses, with Marvel artists often working
                     merely"
65:24                "brief conversations" should be "brief conversations,"            Typographical error
67:17                "the thing" should be "the Thing"                                 Typographical error
67:21-22             "such a ugly monstrous looking guy" should be "such an            Typographical error
                     ugly, monstrous-looking guy"
69:6                 "started drawing" should be "started drawing,"                    Typographical error
69:8-0               "action sequence may have been suggested, then, as well           Typographical error
                     by either man." should be "action sequence, may have
                     been suggested then, as wel1, by either man."


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                                                                                                2021 MARVEL-0130951
       Case 1:21-cv-07957-LAK                       Document 94-8   Filed 06/30/23   Page 11 of 12



70:20                "this mind" should be "in mind"                                 Typographical error
74:24                "insect Man? fly Man?" should be "Insect Man? Fly               Typographical error
                     Man?"
75:2                 "Spider-Man" should be "The Spider"                             Typographical error
75:13                "type" should be "types"                                        Typographical error
76:11                "I didn't mention that" should be "I mentioned that"            Clarification
80:16                "the thing" should be "the Thing"                               Typographical error
81 :5                "I remember Dr. Jekyll" should be "I remembered Dr.             Typographical error
                     Jekyll"
86:18                "Happy hogan'' should be ••Happy Hogan"                         Typographical error
91 :14               "And how you do that" should be "And how do you do              Typographical error
                     that?"
96:5                 "Sgt. fury" should be "Sgt. Fury"                               Typographical error
97:15                "loaner" should be "loner"                                      Typographical error
97:17                "also powerful" should be "all so oowerful"                     Typographical error
100:2                "the raw hide kid tell us about The Rawhide Kid" should         Typographical error
                     be "The Rawhide Kid. Tell us about The Rawhide Kid."
I 04:12              "Stanley Deoosition" should be "Stan Lee Deposition             Typographical error
110:3                "I know What" should be "I know what"                           Typographical error
110:4                "That sounds that" should be "That sounds like that"            Typographical error
110: 18              "spider-man" should be "Spider-Man"                             Typographical error
112:4                "Stanley deposition" should be "Stan Lee deposition"            Typographical error
112:6                '"Stanley" should be "Stan Lee"                                 Typographical error
121 :2-3             "The Superhero Women."' should be "'The Superhero               Typographical error
                     Women."'
123:2                "mr." should be "Mr."                                           Typographical error
123: 14              ''\vhose" should be "who's"                                     Typographical error




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                                                                                              2021 MARVEL-0130952
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   CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT
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                                                                                             who proved lo me on the basis of satisfactory evidence to
                                                                                             be the person(s) whose name(s) is/are subscribed to the
                                                                                             within instrument and acknowledged lo me that
                                                                                             he/stie/thcy executed the same in his/her/their authorized
                                                                                             capacity(ies). and that by his/her/their signature(s) on the
                                                                                             instrument the person(s). or ttie entity upon behalf of
                                                                                             which the person(s) acted, executed the instrument.

                                                                                             I certify under PENALTY OF PERJURY under the laws
                                                                                             of 11,e State of California that the foregoing paragraph is
                                                                                             lrue and correct.




                            P!ar.C> Notmy Seal Above



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  C Attorney in Fact                                                   OFSIGNER                     [] Attorney in Fact                            OF SIGNER
                                                                    Top of thumb here                                                           Top of thumb here
  IJ Trustee                                                                                        0 Trustee
  r I Guardian or Conservator                                                                       [J Guardian or Conservator
  ! I Other: .... ___ _                                                                             C Other·

  Signer Is Representing:                                                                           Signer Is Representing:


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